           Case 1:17-cv-00059-SPW Document 7 Filed 01/16/18 Page 1 of 2
                                                                              FILED
                                                                                  JAN 1 6 2018
                                                                             Clerk, U S District Court
                                                                               District Of Montana
                                                                                      Bjllings



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

 The UNITED STATES OF AMERICA
 ex rel. STEVE AND JONI HARMAN
                                                CV 17-59-BLG-SPW
                       Plaintiffs,

            v.                                  ORDER ON THE UNITED
                                                STATES' NOTICE OF
 BNSF RAILWAY CO., MONTANA                      ELECTION TO DECLINE
 RAIL LINK, INC., and JOHN DOES                 INTERVENTION
 1-30,
                                                FILED UNDER SEAL
                       Defendants.


       The United States having declined to intervene in this action pursuant to the
False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the Court rules as follows:
       IT IS HEREBY ORDERED that,
       1. The Complaint be unsealed and served upon the defendants by the
relator;
       2. All other contents of the Court's file in this action remain under seal and
shall not be made public or served upon the defendants, except for this Order and
the Notice of the United States, which the relators will serve upon the defendants
only after service of the Complaint;
       3. The seal be lifted as to all other matters occurring in this action after the

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        Case 1:17-cv-00059-SPW Document 7 Filed 01/16/18 Page 2 of 2



date of this Order;
      4. The parties shall serve all pleadings and motions filed in this action,
including supporting memoranda, upon the United States, as provided for in 31
U.S.C. § 3730(c)(3). The United States may order any deposition transcripts and
are entitled to intervene in this action, for good cause, at any time;
      5. The parties shall serve all notices of appeal upon the United States;
      6. All orders of this Court shall be sent to the United States; and that
      7. Should the relators or the defendants propose that this action be
dismissed, settled, or otherwise discontinued, the Court will provide the United
States with notice and an opportunity to be heard before ruling or granting its
approval.
      DATED this_&_~ of January, 2018.


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                                             SlJSANP.WATIERS
                                               United States District Judge




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